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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

     AARON FARRER,

                              Plaintiff,

     vs.                                                 Case No. 1:16-cv-3418-TWP-DML

     INDIANA UNIVERSITY, et al.

                              Defendants.


     ORDER GRANTING THE IU DEFENDANTS’ AGREED MOTION TO EXTEND
         DEADLINE TO FILE STATEMENT OF CLAIMS AND DEFENSES

           This matter is before the court on the IU Defendants’ Agreed Motion to Extend

 Deadline to File Statement of Claims And Defenses (Dkt. 61). The court, being duly advised,

 now GRANTS the motion.

           IT IS ORDERED that the deadline for the party with the burden of proof to file a statement

  of claims and defenses is extended to June 26, 2018.


           Date: 5/2/2018
                                                ____________________________________
                                                   Debra McVicker Lynch
                                                   United States Magistrate Judge
                                                   Southern District of Indiana



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